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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF TEXAS

HOUSTON DIVISION
RUSSELL, et al, (]
Plaintiffs []
[] No. 4:19-cv-00226
V. [] Hon. Lee H. Rosenthal
a U.S. District Judge
HARRIS COUNTY, TEXAS, etal, []
Defendants []

REPORT OF SHERIFF ED GONZALEZ JUNE 26, 2020

Just the numbers today:

1. As of June 26, 2020, the total jail population was 8,051 (approximately
90% are felony pre-trial detainees).

2. Only 2 remote bail hearings were held this week, with one more set for
today.

3. Of the 525 inmates in the jail (as of two weeks ago) charged with non-
violent offenses and having no prior violent convictions, 87 have been
released.

4. Regarding the inmates:

e 3,662 have been tested, with 1,046 tested positive (of whom, 803
remain in custody today).
e 728 of those who tested positive have recovered and remain in

custody.
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e 2,602 tested negative.

5. 1,041 inmates are in observational quarantine (no symptoms, but exposed
to COVID). An additional 642 are in buffer quarantine (newly booked).

6. Regarding the HSCO staff:

e 399 have tested positive, including 344 who work in the jail.

e 284 of those who tested positive have recovered and returned to

work.
e 115 are in quarantine (and 12 in the hospital).
Respectfully submitted.

/s/ Murray Fogler

Murray Fogler

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CERTIFICATE OF SERVICE
I certify that on June 26, 2020, a copy of this document was served on counsel
of record via electronic filing in accordance with the USDC Southern District of
Texas Procedures for Electronic Filing.

/s/ Murray Fogler
Murray Fogler
